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                           VAN VLECK TURNER & ZALLER LLP                                                                  FILED
                       1      Brian F. Van Vleck, State Bar No. 155250                                         Superior Court of California
                                                                                                                 County of l.os Angeles
                              Daniel 3. Turner, State Bar No. 207654
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                                                                                                                                            Deputy
                                                                                                                          unya   olden
                           Attorneys for Plaintiff
                           William H. Gradie




                                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                          FOR THE COUNTY OF LOS ANGELES


                                                                                                            BC 6 1 7A4j1-1
                           WILLIAM H. GRADIE, Individually and on                               CASE NO:                    r MLA)
                           behalf of all others similarly situated
                                                                                                CLASS ACTION

                                   VS.                                                          COMPLAINT FOR UNPAID WAGES

                           C.R. ENGLAND, INC., and DOES 1 through                                  (1) UNLAWFUL DEDUCTIONS
                           100 inclusive                                                               FROM WAGES
                                                                                                   (2) UNPAID MINIMUM AND
                                          Defendants.                                                  OVERTIME WAGES
                                                                                                   (3) MISREPRESENTATION
                                                                                                   (4) FAILURE TO PROVIDE OFF-
                                                                                                       DUTY MEAL BREAKS
                                                                                                   (5) FAILURE TO PROVIDE OFF-
                                                                                                       DUTY REST BREAKS
                                                                                                   (6) FAILURE TO ISSUE ACCURATE
                                                                                                       ITEMIZED PAY STATEMENTS;
                                                                                                   (7) FAILURE TO TIMELY PAY
                                                                                                       WAGES DUE
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                      1          Plaintiff William H. Gradie ("Plaintiff"), on behalf of himself and all others similarly

                      2 situated (collectively "Plaintiffs" or the "Class"), hereby files this Complaint against C.R. England,

                      3 Inc. ("Defendant" or "CRE"), and DOES 1-100, (collectively, "Defendants"). Plaintiff is informed,
                      4 believes and alleges as follows:

                      5                                              THE PARTIES

                      6          1.      Plaintiff was formerly employed by Defendants as a driver in Los Angeles County,

                      7 and has resided in California at all times relevant hereto.

                      8          2.      Defendant C.R. England is a corporation engaged in various trucking related

                      9 businesses including a for-profit training program and a related interstate transportation business.

                     10 At all times relevant hereto, Defendant has done business throughout the State of California.

                     11          3.      At all times mentioned herein, Defendants were acting as an individual, corporate,

                     12 affiliate, employer, employee, supervisor, agency, associate aider and abetter and/or alter ego of

                     13 each remaining Defendant, and were acting with permission and consent of each other, and within
                     14 the course and scope of said agency and/or employment. On information and belief, Defendants,

                     15 and each of them, acted as joint employers, alter egos, and an integrated enterprise, and jointly
                     16 exercised control over the employment practices alleged herein. On information and belief,
                     17 Defendants, by and through their officers, directors or managing agents, ratified, authorized and

                     18 approved, expressly or impliedly, all of the conduct alleged hereinafter.
                     19          4.      Does 1 through 100, inclusive, are sued as fictitious names since their true names

                     20 and capacities are unknown to Plaintiff. When their true names and capacities are ascertained,
                     21 Plaintiff will amend the Complaint to state the same. On information and belief, some of the

                     22 fictitiously named defendants are officers, directors, employees and/or agents of Defendants.
                     23
                                                            JURISDICTION AND VENUE
                     24
                                 5.      Jurisdiction is proper in this Court by virtue of California statutes, decisional law,
                     25
                          and regulations. Venue in this Court is proper in that Los Angeles is the county in which the cause,
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                          or some part of the cause, arose, pursuant to Cal. Civ. Proc. Code § 393.
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                                                 CRE'S UNLAWFUL EMPLOYMENT PRACTICES
                                  6.      CRE advertised throughout California and the nation in order to induce applicants to

                          relocate to Fontana, California (and other locations) in order to enroll in its for-profit, in-house

                          "premier truck driving school" (the "CRE Training Program"). CRE induced applicants by

                          representing that if they would travel to Fontana CA and enroll in the Training Program they would

                          be provided with a "guaranteed job" as a well-paid, full-time truck driver.

                                  7.      The material true facts regarding the nature of the work, which CRE deliberately

                          failed to disclose, were that:

                                       a. The approximately $5,175 which CRE charged for its 17-day Training Program was
                                          far above its actual cost for the program.

                                       b. The business objective of the Training Program was not to prepare drivers for long
                                          term employment with CRE. Instead, the Training Program was designed and run
                                          as an independent profit-making enterprise. CRE's profit in the transaction was
                                          generated not by its continued employment of its own trainees, but rather by the
                                          volume of aspiring drivers which it could charge for its Training Program.

                                       c. CRE did not intend to treat the applicant's job as "guaranteed" or even terminable
                                          only for good cause. In fact, notwithstanding its representations and the drivers'
                                          substantial financial investment in their employment, CRE always intended to, and
                                          did, treat the drivers' employment as terminable at-will.

                                       d. In fact, CRE's for-profit Training Program churned out far more student drivers than
                                          it could ever actually employ. As a result, CRE had to actively find ways to cull the
                                          ranks of its drivers and to replace them with more profitable paying applicants.

                                       e. As a result, far from having a "guaranteed job," virtually all of the drivers who pay
                                          to complete the Training Program are destined to have their employment terminated
                                          within less than a year.
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                                       f. In anticipation of this treatment, upon arriving at Fontana, drivers were required as a
                                          mandatory condition of employment to execute a series of unconscionable legal


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                                   documents, which they had little or no opportunity to read or comprehend. These
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                                   included:
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                3                       i. An illegal purported waiver of the driver's right to enforce the provisions of
                                           California law against CRE.
            4

                5                      ii. An illegal agreement to work as an indentured worker who would be

                6                          obligated to pay CRE a penalty or "liquidated damages" of approximately
                                           $2,500 as the price of leaving employment with CRE.
                7

                8                     iii. An illegal agreement to refrain from working for any competitor of CRE for

                9                          a period of at least nine months.

           10                         iv. An illegal agreement allowing CRE to accelerating the payment of principal
           11                              owed for the Training Program and to assess penalties, wage deductions, and

           12                              usurious interest payments in the event the driver's employment is
                                           terminated.
           13

           14                   g. CRE further failed to disclose that drivers would be expected to work without

           15                      legally required off-duty meal breaks and paid rest breaks.

           16                   h. CRE further failed to disclose that drivers would be required to work numerous
           17                      hours without any compensation or for compensation below the applicable

           18                      minimum wage rate.

           19
                           8.      Plaintiff and other members of the Class were employed pursuant to an agreement
          20
                    substantially similar to the "C.R. England, Inc. Driver Education and Employment Contract," (the
          21
                    "Employment Contract"), and attached hereto as Exhibit "A."
          22
                           9.      Under the stated terms of this contract, CRE claimed that it would provide a
          23
                    guaranteed job to Plaintiff. Plaintiff, however, was effectively required to "buy" this job
          24
                    opportunity from CRE by agreeing to the following illegal and unconscionable terms:
          25
                                a. Plaintiff was required to pay CRE approximately $5,175, which CRE represented as
          26
                                   the cost of its in-house job training program (which CRE refers to as the "Premier
          27
                                   School").
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 1                b. Plaintiff was required to work exclusively for CRE for at least nine months, at the

 2                   compensation rate and terms set by CRE.

 3                c. Plaintiff was required to pay a penalty or "liquidated damages" of $2,500 to CRE in

 4                   the event his employment was terminated by CRE, or if he resigned his employment

 5                   prior to the nine-month period.

 6                d. Plaintiff was required to agree that CRE could deduct these "liquidated damages"

 7                   from any of his compensation which was earned but unpaid at the time of the

 8                   termination of his employment.

 9                e. Plaintiff, a California resident who was recruited, hired, trained, and based in

10                    California, was required to waive any right to pursue the protections of California

11                    labor law.

12          10.       As a further part of the employment agreement, CRE required Plaintiff to execute a

13 Promissory Note in favor of "CR England dba Premier Truck Driving School," a copy of which is

14 attached hereto as Exhibit "B." This Promissory Note, included the following misleading, illegal,

15 and unconscionable terms:

16                a. The Promissory Note failed to include the applicable annual percentage rate and

17                    finance charge applicable to the balance of the borrowed funds as part of the Special

18                    Regulation Z Disclosures Box contained in the Note.

19                b. The actual rate of interest was to be 18%, compounded daily, which is far in excess

20                    of the maximum rate permitted by California law.

21                c. The Promissory Note purported to allow CRE to make self-help deduction for

22                    repayment of the Note from any amounts owed to Plaintiff by CRE, in violation of

23                    applicable debt collection and labor laws.

24                d. The Promissory Note falsely represented that "if I complete the term of my

25                    employment with C.R. England, C.R. England will satisfy this note in its entirety on

26                    my behalf."

27          11.       Following Plaintiff's execution of the Employment Contract, CRE required Plaintiff

     to perform numerous forms of work without compensation, including:
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                      1               a. Completing CRE's in-house driver training program;

                      2               b. Completing CRE's orientation and new-hire paperwork;

                      3               c. Completing CRE's road driving evaluation;

                      4               d. Completing the mandatory DOT physical examination, drug test, and other

                      5                  requirements for beginning employment with CRE in compliance with the

                      6                  Employment Contract;

                      7         12.      Following Plaintiff's execution of the Employment Contract with CRE, CRE

                      8 deducted substantial sums from Plaintiff's compensation and required him to personally pay

                      9 required out-of-pocket costs which were reasonably necessary to comply with the terms of the

                    10 Employment Contract, including:

                    11                a. Deductions from Plaintiff's earned compensation of approximately $550 per month

                    12                   as repayment of "tuition" for CRE's in-house work training program.

                    13                b. Requiring Plaintiff to directly pay for the costs of the required drug test, physical

                    14                   examination, the cost of obtaining the Commercial Driver's License ("CDL"), and

                    15                   other costs which were reasonably required in order to comply with the terms of his

                    16                   Employment Contract.

                    17          13.      During Plaintiff's employment, CRE did not maintain any policy to provide Plaintiff

                    18 with at least one 30-minute, uninterrupted, off-duty meal break for each continuous work period of

                    19 at least five hours. Nor did CRE maintain any policy that authorized or permitted off-duty rest

                   20 breaks of at least 10-minutes for each four hours of work, or major fraction thereof.

                    21          14. During his employment, Plaintiff was also subject to CRE's uniform policy and

                    22 practice of failing to provide accurate itemized pay statements setting forth, inter alia, all hours

                    23 worked and all applicable rates of pay.

                    24          15.       From the time he executed the Employment Contract until his termination by CRE

                    25 Plaintiff performed all material terms of the Employment Contract, even including the
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                    26 requirements to perform uncompensated work and the requirement that he personally pay
 1;:rd              27 necessary, work-related expenses.

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                   1          16.    CRE promised according to the terms of the Employment Contract that it would not

                   2 terminate Plaintiff's employment except upon a showing of "Due Cause," defined as a breach of

                   3 Employment Contract by Plaintiff, a breach of CRE's Driving Manual, or a violation of law.

                   4 However, notwithstanding this promise CRE knew at the time it entered into the contract that its

                   5 true policy was to deem Plaintiffs employment to be terminable at-will without any requirement of

                   6 good cause.

                   7          17.    In approximately October, 2015, following an incident in which one of CRE's

                   8 vehicle's suffered an equipment malfunction due to no fault of Plaintiff, CRE terminated Plaintiffs

                   9 employment without any good faith finding of "Due Cause."

                 10           18.    Despite the absence of any finding of "Due Cause" for the termination of Plaintiff's

                  11 employment, CRE nevertheless deducted $2,500 in alleged "liquidated damages" from his earned

                  12 compensation.

                  13          19.     CRE also did not issue any final pay statement immediately upon Plaintiffs

                  14 termination as required by California law. Instead, it willfully waited until at least its next

                  15 regularly scheduled pay day to issue his final pay statement. Plaintiffs final pay upon termination

                  16 was therefore both untimely calculated as well as never paid in full due to the improper deductions

                  17 taken by CRE.

                  18          20.     As a result of CRE's failure to pay for all hours worked, its methods of calculating

                  19 compensation due, its deductions from the wages actually earned by Plaintiff, and its failure to

                 20 reimburse necessary employment-related expenses, Plaintiff consistently earned less than the

                 21    applicable California and federal minimum wage for all hours worked during his employment.

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                         1                                        CLASS ALLEGATIONS

                     2             21.     This action is being brought on behalf of Plaintiff and all others similarly situated

                     3 (collectively, "Plaintiffs" or "the Class"), as a class action pursuant to California Code of Civil
                     4 Procedure section 382.

                     5             22.     Plaintiff thus seeks to represent a class of similarly situated California Drivers (i.e.,

                     6 drivers who were residents of California, who completed CRE's driver training program in
                         7 California, or who performed substantial compensable work in California), who worked for CRE

                         8 during the applicable four-year statute of limitations.

                         9         23.     Plaintiff reserves his right under Rule 3.765 of the California Rules of Court to

                   10 amend or modify the Class description with greater specificity or by further division into subclasses
                   11 or limitation to particular issues.

                   12              24.     Plaintiff is a member of the Class he seeks to represent and is the proposed

                   13 representative of the Class in the present litigation.

                   14              25.     While the exact number of members of the Class is unknown to Plaintiff at this time

                   15 and can only be determined by appropriate discovery, membership in the class is readily

                   16 ascertainable from the records Defendant is required to keep by law. Plaintiff is informed and
                   17 believes that the Class is sufficiently numerous that individual joinder of all members is impractical

                    18 and the resolution of the claims alleged through the class action procedure will be beneficial to the
                   19 parties and the court.

                   20               26.    Plaintiff will fairly and adequately represent the interests of the Class which he

                   21 proposes to represent. Plaintiff is an adequate representative as he has no interests which are

                   22 adverse to the interests of the Class. Plaintiff is committed to the vigorous prosecution of this
                   23 action and, to that end, has retained counsel who is competent and experienced in handling
                   24 employment-related class action litigation.
                   25               27.    The claims of Plaintiff are typical of the claims of the other members of the Class

                   26 because Plaintiff and each member of the Class have been subjected to the same systemic

 1;77)             27 violations of their statutory rights and, as a result, have been denied the same types of wages and
                   28 benefits required by law.
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                   1         28.      Common questions of law and fact exist as to the claims of the members of the

                   2 Class. Such common questions predominate over the questions, if any, which affect only

                   3 individual members. Such common questions include, but are not limited to:

                   4               a. Whether Defendants followed a consistent policy and practice of imposing unlawful

                   5                  wage deductions and payment of expenses by, inter alia: requiring class members to

                   6                  pay out of their own pockets for CRE's own internally-mandated training program;

                   7                  requiring class members to patronize CRE's own for-profit training and finance

                   8                  program; and deducting from wages for training costs, alleged "liquidated

                   9                  damages," usurious interest rates, and other sums supposedly owed to CRE.

                  10               b. Whether Defendants failed to pay any wages for the substantial numbers of

                  11                  compensable hours worked by class members completing employer-mandated

                  12                  training programs, and waiting for assignments.

                  13               c. Whether Defendants made false representations to relocating class members that: (a)

                  14                  the actual out-of-pocket cost to CRE for its training was in excess of $5,000; (b)

                  15                  full-time work would be "guaranteed" by CRE for at least the mandated nine-month

                  16                  term of employment; (c) that during this "guaranteed" employment period their

                  17                  employment would not be terminable "at will" on the same basis as other CRE

                  18                  employees, but rather would be terminable only for demonstrated "good cause"; and

                  19                  (d) that CRE would fully pay the cost of training on their behalf and thereby cause

                  20                  the Promissory Note to be satisfied and discharged upon completion of their nine-

                  21                  month term of employment.

                  22               d. Whether Defendants failed to discharge their legal duty to provide off-duty meal and

                  23                  rest periods as required by California law.

                  24               e. Whether Defendants failed to provide accurate, itemized wage statements to the

                  25                  Class.
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                  26               f. Whether Defendants failed to immediately pay all wages owed to class members

                  27                  upon termination of their employment.

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                       1            g. Whether Defendants charged usury interest rates in excess of 18% to members of

                   2                   the class pursuant to the terms of Promissory Notes which they were required to

                   3                   execute to obtain employment with CRE.

                   4          29.      A class action is superior to other available methods of adjudicating the claims

                   5 asserted in this action for reasons including, but not limited to:

                   6                a. The expense and burden of individual litigation make it economically unfeasible for

                   7                   each member of the Class to seek a separate, individual remedy;

                       8            a. If separate lawsuits were brought individually by each member of the class it would

                       9               cause undue hardship and expense to the Court and litigants by necessitating

                  10                   multiple trials of similar factual and legal issues;

                  11                b. The prosecution of separate individual actions would create the risk of inconsistent

                  12                   adjudications of similar factual and legal issues; and

                  13                c. Absent a class action, there would be a failure of justice, as Defendants would retain

                  14                   the benefit of their illegal conduct and wrongdoing.

                  15          30.      Defendant has acted or refused to act on grounds generally applicable to the Class,

                  16 thereby making appropriate final declaratory relief with respect to the Class as a whole and

                  17 necessitating that any other such relief be extended to the Class on a mandatory, class wide basis.

                  18          31.      Plaintiff is aware of no difficulty which will be encountered in the management of

                  19 this litigation which should preclude its maintenance as a class action.

                 20           32.      The names and addresses of many, if not all, of the members of the Class are

                 21 available from Defendant's own records. Notice can be provided to members of the Class via first

                 22 class mail or otherwise using techniques and a form of notice similar to those customarily used in

                 23 employment class actions under California law.

                 24           33.      In addition, Plaintiff intends to proceed with a representative action pursuant to the

                 25 Labor Code Private Attorneys General Act of 2004, Labor Code section 2698, et seq. ("PAGA").

                 26 Plaintiff has provided notice of the violations of the Labor Code alleged herein to the Labor

                 27 Workforce Development Agency as required by law.

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                        1                                   PLAINTIFFS' CAUSES OF ACTION

                    2                                             FIRST CAUSE OF ACTION

                        3                                UNLAWFUL DEDUCTIONS FROM WAGES

                    4                                 (By Plaintiff and the Class against all Defendants)

                        5            34.   Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

                        6 through 33, as though fully set forth herein.

                        7            35.   Pursuant to California Labor Code Sections 221-223, 451(a), and 2802-2804, and

                        8 Wage Order 9-2001, an employer may not: deduct from the wages of an employee; require the

                        9 employee to patronize the employer's services; require employees to pay for amounts incurred in

                  10 the course and scope of his employment; or shoulder the employer's normal costs and expenses of

                  11        doing business.

                  12                 36.   Notwithstanding these legal requirements, Defendants imposed unlawful deductions

                  13 and expenses upon Plaintiff and the Class by, inter alia: requiring class members to pay out of their

                   14 own pockets for CRE's own mandated training program; requiring class members to patronize

                   15 CRE's own for-profit training and finance programs; requiring class members to incur wage

                   16 deductions for training costs, "liquidated damages," usurious interest, and other sums supposedly

                   17 owed to CRE.

                   18                37.      As a result, Plaintiffs are entitled to damages and restitution under the Labor Code,

                  19 as well as the California Unfair Competition Law ("UCL"), for all wrongfully withheld and

                  20 deducted amounts; and for recovery of all derivative statutory and civil penalties thereby triggered

                  21        and authorized by law, including under Labor Code §§ 201, 203, 204, 204.2, 210, 218, 221, 222.5,

                  22 223, 225.5, 226(e); 226.3, 256; 432.5, 450, 558, 1194.2, 1197, 1197.1, 1198, and 2699 et seq.

                  23

                  24             •                              SECOND CAUSE OF ACTION

                  25                                   UNPAID MINIMUM AND OVERTIME WAGES

                  26                                  (By Plaintiff and the Class against all Defendants)

                  27                 38.      Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

                  28 through 33, as though fully set forth herein.
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              1         39.     Pursuant to California Labor Code Sections 1182.12, 1194, and Wage Order 9-2001,

              2 Section 4, an employer is required to pay no less than the mandated minimum wage for each hour
              3 of compensable time worked. Compensable time includes all hours during which the employee is

              4 performing labor for the benefit of the employer or during which he is subject to the control of the

              5 employer.

              6         40.     Labor Code Sections 510(a), 1194, and Wage Order 9-2001, Section 3, require that

              7 an employer must compensate such hours worked at premium overtime rates to the extent they

              8 exceed eight hours in a day or 40 hours in a week.
              9         41.     Notwithstanding these legal requirements, Defendants failed to pay any wages for

         10 substantial numbers of compensable hours worked by Plaintiff and the Class, including time spent
         11 completing employer-mandated training programs, and time spent waiting for assignments.

         12             42.     As a result, Plaintiff and the Class are entitled to damages and restitution under the
         13 Labor Code, as well as the California Unfair Competition Law ("UCL"), for all wrongfully
         14 withheld and deducted amounts; and for recovery of all derivative statutory and civil penalties
         15 thereby triggered and authorized by law, including under Labor Code §§ 201, 203, 204, 204.2, 210,

         16 218, 221, 222.5, 223, 225.5, 226(e), 226.3, 256, 432.5, 450, 558, 1194.2, 1197, 1197.1, 1198, and

         17 2699 et seq.

         18

         19                                        THIRD CAUSE OF ACTION

         20                 MISREPRESENTATION IN VIOLATION OF LABOR CODE SECTION 970
         21                             (By Plaintiff and the Class against all Defendants)

         22             43.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

         23 through 33, as though fully set forth herein.
         24             44.     Pursuant to California Labor Code Sections 970-972, an employer may not directly
        25 or indirectly, influence, persuade, or engage any person to change from one place to another in this
        26 State or from any place outside to any place within the State, based on false representations
        27 regarding the kind, character, or existence of such work.
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                       1         45.        Notwithstanding these legal requirements, Defendants persuaded and engaged

                       2 Plaintiff and other members of the class to relocate to, and remain in, Fontana, California, on the

                       3 basis of misrepresentations regarding the nature of the work they could expect to receive from

                       4 CRE. These knowingly false misrepresentations included, inter alia: (a) that the actual out-of-

                       5 pocket cost to CRE of their training was in excess of $5,000; (b) that full-time work would be

                       6 "guaranteed" by CRE for at least the mandated nine-month term of employment; (c) that during

                       7 this time their employment would not be terminable "at will" on the same basis as other CRE

                       8 employees, but rather would be terminable only for demonstrated "good cause"; and (d) that CRE

                       9 would fully pay the cost of training on their behalf and thereby cause the Promissory Note to be

                  10 satisfied and discharged upon completion of their nine-month term of employment.

                  11             46.     As a result of Defendants conduct, Plaintiff and the Class are entitled to recover

                  12 damages, back pay, front pay, liquidated damages, and restitution under the Labor Code; as well

                  13 restitution and disgorgement under the California Unfair Competition Law ("UCL"), for all

                  14 amounts wrongfully obtained by CRE; and for recovery of all statutory penalties authorized by law,

                  15 including civil penalties under Labor Code §§ 558, 972, and 2699 et seq.

                  16

                  17                                       FOURTH CAUSE OF ACTION

                  18                            FAILURE TO PROVIDE OFF-DUTY MEAL BREAKS

                  19                                   OR PREMIUM PAY IN LIEU THEREOF

                 20                               (By Plaintiff and the Class against all Defendants)

                 21              47.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

                 22 through 33, as though fully set forth herein.

                 23              48.     Pursuant to California Labor Code Section 512 and Wage Order 9-2001, section 11,

                 24 an employer may not employ an employee for a work period of more than five hours per day

                 25 without providing the employee with a meal period of not less than 30 minutes, during which time

                 26 the employee must be fully relieved of all duty. Pursuant to Labor Code section 226.7 and Wage

                 27 Order 1-2001, sections I 1 (b), each failure to provide the specified meal period entitles the

  t:Z)           28 employee to receive an additional compensation premium equal to one hour of pay.
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                       I          49.     Notwithstanding these legal requirements, Defendant failed and refused to

                       2 affirmatively authorize and permit off-duty meal breaks or to pay the premium compensation due

                       3 as a consequence of requiring Plaintiffs to work without legally compliant off-duty break periods.

                       4          50.     As a result, Plaintiffs are also entitled to restitution of all earned but unpaid

                       5 premium wages under the California Unfair Competition Law ("UCL"), and for recovery of all

                       6 derivative statutory and civil penalties thereby triggered and authorized by law, including under

                       7 Labor Code §§ 201, 203, 204, 204.2, 210, 218, 221, 222.5, 223, 225.5, 226(e), 226.3, 256, 432.5,

                       8 450, 558, 1197.1, 1198, and 2699 et seq.

                       9

                  10                                          FIFTH CAUSE OF ACTION

                  11                           FAILURE TO PROVIDE OFF-DUTY REST BREAKS OR

                  12                                       PREMIUM PAY IN LIEU THEREOF

                  13                               (By Plaintiff and the Class against all Defendants)

                  14              51.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

                  15 through 33, as though fully set forth herein.

                  16              52.     Pursuant to Wage Order 9-2001, section 12, every employer shall authorize and

                  17 permit all employees to take rest periods, at the rate of 10 minutes of rest per four hours of work, or

                  18 major fraction thereof. Pursuant to Labor Code section 226.7 and Wage Order 9-2001, section

                  19       12(b), each failure to provide the specified rest period entitles the employee to receive an additional

                 20 compensation premium equal to one hour of pay.

                 21               53.     Notwithstanding these legal requirements, Defendant failed and refused to

                 22 affirmatively authorize and permit off-duty rest breaks or to pay the premium compensation due as

                 23 a consequence of requiring Plaintiffs to work without legally compliant off-duty break periods.

                 24               54.     As a result, Plaintiffs are also entitled to restitution of all earned but unpaid

                 25 premium wages under the California Unfair Competition Law ("UCL"), appropriate injunctive and

                 26 declaratory relief, and for recovery of all derivative statutory and civil penalties thereby triggered

                 27 and authorized by law, including under Labor Code §§ 201, 204, 204.2, 210, 218, 221, 222.5, 223,

  1,7D           28 225.5, 226(e), 226.3, 256, 432.5, 450, 558, 1197.1, 1198, and 2699 et seq.
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                           1

                           2                                      SIXTH CAUSE OF ACTION

                           3                FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
                           4                           (By Plaintiff and the Class against all Defendants)

                           5          55.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs I

                           6 through 33, as though fully set forth herein.

                           7          56.     Labor Code Sections 226(a), 1174, and Wage Order 9-2001, Section 7(B), also

                           8 require that Defendants shall record certain data, and provide its California employees with

                           9 accurate, itemized statement showing, inter alia, "total hours worked by the employee," "the

                      10 number of piece-rate units earned and any applicable piece rate if the employee is paid on a piece-

                      11       rate basis," and "the name and address of the legal entity that is the employer."

                      12              57.     Notwithstanding this requirement, Defendant conformed to a consistent policy and

                      13 practice whereby it failed and refused to provide itemized wage statements containing an accurate

                      14 itemization of the required data.

                      15              58.     As a result of this conduct Plaintiff and the class have been injured and are entitled

                      16 to recovery of all derivative statutory and civil penalties thereby triggered and authorized by law,

                      17 including under Labor Code §§ 201, 203, 204, 204.2, 210, 218, 221, 222.5, 223, 225.5, 226(e),

                      18 226.3, 256, 432.5, 450, 558, 1197.1, 1198, and 2699 et seq.

                      19

                     20                                         SEVENTH CAUSE OF ACTION

                     21                             FAILURE TO PROVIDE TIMELY WAGE PAYMENTS
                     22                                (By Plaintiff and the Class against all Defendants)

                     23               59.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

                     24 through 33, as though fully set forth herein.

                     25               60.     Labor Code section 200 provides that commissions constitute a form of earned

‘417,, r             26 wages. Labor Code § 204 requires that earned wages "are due and payable twice during each
  rs'




                     27 calendar month" and must be distributed at regular scheduled paydays. Labor Code §§ 201-203

                     28 require that all earned wages are due and payable "immediately" upon termination of employment,
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                               Case 2:16-cv-00768-DN Document 1-1 Filed 05/20/16 Page 16 of 42




                         1   except upon resignation with less than 72 hours' notice, in which case all wages are due within 72

                         2 hours of resignation.

                         3          61.     Notwithstanding these provisions of law, Defendant's consistent policy and practice

                         4 was to delay the payment of earned wages until weeks or months after the wages had been earned.

                         5 Even where an employee's employment was terminated, Defendant failed to accelerate the

                         6 payment of such earned wages as required by law and also failed to pay all wages due.

                         7          62.     As result, Defendant has consistently violated the provisions of Labor Code sections

                         8 200-204 as to Plaintiff and the Class, who are thereby entitled to seek recovery of all authorized

                         9 penalties, including penalties under Labor Code sections 203, such other legal and equitable

                    10 remedies as are provided by law, of all derivative statutory and civil penalties thereby triggered and

                    11       authorized by law, including under Labor Code §§ 201, 203, 204, 204.2, 210, 218, 221, 222.5, 223,

                    12 225.5, 226(e), 226.3, 256, 432.5, 450, 558, 1197.1, 1198, and 2699 et seq.

                    13

                    14                                        EIGHTH CAUSE OF ACTION

                    15                                                     USURY

                    16                              (By Plaintiff and the Class against all Defendants)

                    17              63.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1

                    18 through 33, as though fully set forth herein.

                    19              64.     The California Constitution, Article XV, Section 1, and Civil Code §§ 1912, et seq.,

                   20 set the maximum rate of interest at 10% per annum for loans of money used primarily for personal,

                   21        family, or household purposes, such as loans used to pay for educational and vocational training

                   22 expenses.

                   23               65.     Notwithstanding these provisions of law, Defendants' consistent policy and practice

                   24 was to require Plaintiff and the Class to pay interest of 18% or more on the outstanding balances of

                   25 the Promissory Notes which they were required to execute as a condition of their training and
    CZ?
    4,4:Pft        26 employment.

                   27               66.     As result, Defendant has consistently violated the provisions of the California usury

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                   28 law as to Plaintiff and the Class, who are thereby entitled to seek all authorized remedies, including
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                        1 voiding of the Promissory Notes, forfeiture of all interest charged or purportedly due pursuant to

                        2 these usurious Promissory Notes, an award of treble damages, and all derivative statutory and civil

                        3 penalties thereby triggered and authorized by law, including under Labor Code §§ 201, 203, 204,

                        4 204.2, 210, 218, 221, 222.5, 223, 225.5, 226(e), 226.3, 256, 432.5, 450, 558, 1197.1, 1198, and

                        5 2699 et seq.

                        6

                        7                                       NINTH CAUSE OF ACTION

                        8                 VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
                        9                            (By Plaintiff and the Class against all Defendants)

                   10               67.     Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1
                   11 through 66, as though fully set forth herein.

                   12               68.     The California Unfair Competition Law ("UCL"), Business and Professions Code .
                   13 §§ 17200, et seq. prohibits unlawful, unfair, or fraudulent business practices.
                   14               69.     Notwithstanding this provisions of law, Defendants' consistent policy and practice
                   15 in doing the acts alleged herein have been to engage in unfair business practices in violation of the

                   16 UCL. As a result, Defendants have been unjustly enriched at the expense of Plaintiff and the Class.
                   17               70.     As result, Plaintiff and the Class, are thereby entitled to seek all authorized remedies

                   18 under the UCL, including equitable, injunctive and declaratory relief, imposition of a constructive

                   19 trust, and restitution and disgorgement of all ill-gotten gains by which Defendants have been

                   20 unjustly enriched.
                   21
                   22
                                                               TENTH CAUSE OF ACTION
                   23
                                    LABOR CODE PRIVATE ATTORNEY GENERAL ACT OF 2004 ("PAGA")
                  24
                                                    (By Plaintiff and the Class against all Defendants)
                  25
                                   71.      Plaintiff re-alleges and incorporates by reference every allegation in paragraphs 1
                  26
                            through 66, as though fully set forth herein.
                  27
                  28
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                     1          72.     The California Labor Code Private Attorney General Act of 2004 ("PAGA"), Labor

                     2 Code §§ 2698, et seq. authorizes recovery of cumulative civil penalties and other remedies for

                     3 violations of the Labor Code on behalf of Plaintiff and all similarly situated aggrieved employees.

                     4          73.     Notwithstanding the provisions, Defendants' consistent policy and practice in doing

                     5 the acts alleged herein have been to violate multiple provisions of the Labor Code for which civil

                     6 penalties are authorized.

                     7          74.     By certified letter of December 7, 2015, attached hereto as Exhibit "C," Plaintiff

                     8 provided notice of the Labor Code violations alleged herein to the California Labor and Workforce

                     9 Development Agency ("LWDA"). Following expiration of 33 days, the LWDA declined to

                10 exercise its jurisdiction over the present claims for violation of the Labor Code. Plaintiff has thus

                11       exhausted the administrative remedies required as a prerequisite for the present private action

                12 pursuant to Labor Code §2699.3.

                13              75.     As result, Plaintiff and the Class, pursuant to PAGA, are thereby entitled to seek all

                14 equitable remedies and all authorized civil penalties available under the Labor Code, including

                15 under Labor Code §§ 201, 204, 204.2, 210, 218, 221, 222.5, 223, 225.5, 226(e), 226.3, 256, 432.5,

                16 450, 558, 1197.1, 1198, and 2699 et seq.

                17

                18                                            PRAYER FOR RELIEF

                19              WHEREFORE, Plaintiffs pray for judgment as follows:

                20              I. For a declaration that Defendant has engaged in unfair competition in violation of

                21       the California Unfair Competition Law ("UCL"), Business and Professions Code section 17200 et

                22 seq., and for restitution of all wrongfully withheld amounts according to proof;

                23              2.      For liquidated damages pursuant to Labor Code sections 1194(b), and 972;

                24              3.      For all statutory penalties authorized by law, including PAGA penalties under Labor

                25 Code § 2699 et seq;

                26              4.      For preliminary and permanent injunctive relief requiring Defendant to cease and

               27 desist from further unfair competition and violations of law and to make restitution to those injured

               28 by its prior course of illegal wrongful conduct.
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                        1        5.     For prejudgment interest on all amounts owed;

                        2        6.     For attorney fees and costs pursuant to all applicable provisions of law.

                        3        7.     For such other and further relief the court deems just and proper.

                        4

                        5 Dated: April 20, 2016                VAN VLECK TURNER & ZALLER, LLP
                                                                 Brian F. Van Vleck
                        6                                        Daniel J. Turner

                        7

                        8
                                                               By:
                        9                                             Brian F. Van Vleck
                                                               Attorneys for Plaintiff
                   10                                          William E. Grady

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                        1                                    DEMAND FOR JURY TRIAL
                        2         Plaintiff hereby demands trial of his claims and the claims of the class by jury to the extent
                        3 authorized by law.

                        4

                        5 Dated: April 19, 2016                  VAN VLECK TURNER & ZALLER, LLP
                                                                   Brian F. Van Vleck
                        6                                          Daniel J. Turner
                        7

                        8
                                                                 By:
                        9                                               Brian F. Van Vleck
                                                                 Attorneys for Plaintiff
                    10                                           William H. Gradie
                    11

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EXHIBIT A
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                      EXHIBIT A
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                                         •innanarsimmiiniiiiidionmaiingau
                                       CiRr ENGLAND, INC.

                      DRIVER EDUCATION AND EMPLOYMENT CONTRACT
                                         *.    (California)

           This Driver Education and EanplOment Contract ("Contract") is entered into this 0 3 day
  offilielUST , 2015*. (the "Effective Date") in the State of California by and between C.R.
  England, Inc. ("England"), a Utah cOrporAtion located at 4701 West 2100 South, Salt Lake City,
• Utah 84120 and William        Gradlo     ("you" Or "Driver"). In consideration of the parties'
  respective promises in this Contract and other good and valuable consideration, you and England
  agree as follows:

          1.      EDUCATION AND EMPLOYMENT; In exchange for .your promise to work as a
  truck driver exclusively for England for nine months as provided in this Contract and your
  execution of a promissory note.for the ttriSubsidized cost of tuition ("Tuition Note"), England will
  provide its Premier Truck Driving SchooliDriver Education Program to you on the terms described
  in the Enrollment Agreement. England /also agrees to employ you subject to the terms and
                                             •
• a:editions stated below.

 You will not be employed by England dining your DriverEdueation Program and thus will
•receive no pay during this period. You w111 not become an employee of England, and will not
 re ceive any pay; until you meet' all theVonditioris listed below.

:England agrees to employ you and you agree to be employed by England as a truck driver when you
•Meet all'of the f011owing conditions: I. • •


                (a)      You successfullyicomplete all requirements of England's Premier Truck
                         Driving School Driver Education program;
                (b)      You submit a written application to England, in form provided by England,
                         and satisfy Englai.x0s standard criteria regarding work history, motor vehicle
                         record and Crimitil.background check;
                (c)      You pass a DepaitMent of Transportation drug test and hair follicle test;
                (d)      You submit to, and Pass, a medical examination inriccordance with
                         regulations issued 'by the Department of Transportation;
                (e)      You successfully complete road and range driving evaluation administered by
                         England;
                (1)      You obtain a valid CDL.
 You agree to use your best efforts and to work diligently to meet all of these conditions.

          2.     DUTIES•OF DRIVER_ y. §}1 agree that at all times during the term of your
 emPloymentas defined .iti paragraph 3 below, you. shall devote all of your working time to the
 perforMance of yOurduties to England under this Contract. Your duties are to act as a commercial
 Mick driver for England and fUlfill all related 'duties, including all of the reqPirements and
'conditions set forth in the England Driver Employee Policy Manual (the "Manual") as amended
 from time to time. You agree that you Will not, directly or indirectly, engage or participate in any
 activities atany time during the term of this Contract in conflict with your duties under this
 COntract.

         3.     TERM OF EMPLOYMENT. You agree that, after the conditions stated in
:paragraph 1 are met,. you will work as a truck driver for England for a period of nine months after
 the date you are first dispatched by Englarid, subject to termination by England prior to the end of
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                  the term pursuant to paragraph 4, beloW;After the nine (9) month term, you or England may
                  terminate your employment at any time aid for any reason. You acknowledge that, at great cost,
                  England has provided, or will provide, YOur driver education, and that England would be'damaged
                  by your failure to complete the nine month term of this Contract.

                           4.     TERMINATION OF EMPLOYMENT. During the nine (9) month term, your
                  employment may only be terminated fo'rthefollowing reasons: (a) by England for Due Cause,
                  effective immediately; . (b) by mutual agreement between you and England; (c) upon your death or
                  upon yaiir developing a disability such that you are no longer able to legally drive; or (d) by
                  England without Due Cause. For the pirPoses of this Contract, "Due Cause" means (i) your breach
    .1   •   •
                  of this Contract; .(ii) your violation of anY ipf the requirements or conditions set forth in the Manual;
                  or.(iiWyour violation of or failure to remain in compliance with any federal or state regulations
                  applicable to your position as a driver of commercial motor vehicles in interstate commerce. If you
                  are terminated by England without Due .d'Ouse, England Shall cancel the Tuition Note and, in
                 .addition, paragraphs 5 Shall not apply.

                          5.       LIQUIDATED DAMAGES FOR BREACH OF YOUR PROMISE TO WORK FOR
                  ENGLAND. You agree Ihatif you fail 'toicomplete the MI nine (9) month term of your
                  employment with England because (a) YOu quit, or (b) your employment is terminated for Due
                 'Cause, then England will suffer damages hecause of its inability to realize the fill benefit of its
                  financial investrient .ikyout recruiiment•training and employment. You and England agree that it
                  will be difficult to determine the precise amount of the financial harm to England in the event either
                 •of these things happens and that the liqiiidated•damages amount provided for in this Contract
                  repiesent a fair, reasonable and appropriate estimate of this harm. Accordingly, you agree thatif
                  you. qUit or are terminated for Due Cause.Eiefore you have completed your 9-month commitment,
                 .yeu will be immediately liable to pay tO:England liquidated damages in the amount of $2,500.00.

                         6.       EARLY BUYOUT. At any time prior to your completion of the full nine (9) month
                 •term of your employment with England, YOu may terminate your employment obligation by 1)
                 •paying in fiat the balance of your TuitiOif Note, and 2) paying to England $2500 (the "Buyout
                 •Cost"). Your obligations under this Agreement will continue until both the Tuition Note and the
                  Buyout Cost are paid in full. England willnot accept installment payments on either the Tuition
                  Note or the Buyout Cost. The Buyout deSt is to compensate England for its substantial investment
                  in your recruiting and training and the retie on that investment it would have received if you had
                  completed the entire term of this Agreetnent.

                          7.      DRIVER COMPENSATION. As compensation for the driving services to be
                  rendered by you tinder.thiS Contract, and a's consideration for your promises and covenants herein,
•
                  England will payyou the wages; benefits•arid other compensation set forth in the Manual and as
                  stated by England from time to time, and Will'alsd provide the Educational Assistance Program
                  described below. Upon the termination ofemployment, as defined in paragraph 4 of this Contract,
                  yciu authorize England to deduct and recOdp any amount remaining due and owing to England
.' •              pursuant to paragaph 5 of this Contract fr:Om any compensation due and owing to you from
                  England. England may unilaterally change at any time, by written amendment, the terms and
                  conditions of the compensation set forthin!the Manual so long as your overall compensation is not
                  inaterially reduced, -ancryotibereby content to all such amendments and agrees that such
                 'amendments shall be binding upon you..

                  •     8.     EDUCATIONAL ASSISTANCE PROGRAM. When you have completed the nine
                 month term of this Contract, you will automatically become eligible for England's Educational
                                                                      2
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        Assist ice Program, which is described iti 'tip summary plan description that you may obtain from
        the: England.Depaitment Of Human Resotirces. The Educational Assistance PrograM will pay, on
        your behaLf, any ainounts owing on the Tnition Note, up to $5,200 per calendar year.
                                                      ;
                9.      ENTIRE
                             • , AGREEMENT.    .  iThls  Contract, together with the Enrollment Agreement
        and the Tuition'NOte;.Contams the entire agreement and understanding by and between England and
        You with respect to the subject matter Contained herein and no representations, promises,
        agreements or understandings, written nr. loi.k, concerning this subject matter, shall be.of any force
        or effect. This Contract may not he modi,fid except by a writing signed by both you and England.
        This Contract shall:be binding upon and inVre to the benefit of England and you, England's legal
        representatives; and England's suCcessodand assigns. However, you may not assign your duties
, 7..   'under this Contract

           • 10.      SEVERABILITY: If one or 'more of the provisions contained in this Contract is
        deemed invalid, illegal or unenforceable in :any respect; such invalidity, illegality or
        unenforCeability shall not affect the validity and enforceability Of the other provisions.
                 11.     GOVERNING LAW AND VENUE. You and England agree that this Contract and
        its construction and interpretatiOn shall be gOvemed by the laws of the State of Utah, and any claim,
        litigation or dispute ariiing from or related'io this Contract shall be litigated in the appropriate
        federal Or itate c. ond located in Salt Lakedipty, Utah. You hereby consent to personal jurisdiction
        and venue in such court. Notwithstanding any other provision of this Contract, if you have
        eiecuted an arbitrittion agreement with England, the terms of the arbitration agreement shall govern
        any claims or disputes betWeen you and England arising from or related to this Agreement.

          • . YOU ACKNOWLEDGE.THAT you HAVE READ THE TERMS OF THIS CONTRACT
        AND HAVE HAD THE•OPPORTUNITMF YOU DESIRED, TO CONSULT WTTH AN
        ATTOANEY.OF YOUR CHOICE Plt1012.:TO SIGNING BELOW.
                IN WITNESS WHEREOF, C.R. England, Inc. and Driver have duly executed this Contract
        as of the date, year and place first above Written.


        C.R. ENGLAND, INC.                                DRIVER

        By:                                               By:
                                                          Nume; William              Gradle

        Title:                            •               Address: 5200 Clark Ave 65

                                                                     Lakewood          CA          90714

                                                          Phone; 542            - 00 52.

                                                          Social Security Number:    318646498

                                                          Driver fDii: ti 3° 301 't



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      Facts: about youti:contract with C.R1 England
                                     •

    • The contract is an employment agreement, where you agree to work
      for C.R England for at lea sl t 9 months.

    • In exchange for your employment commitment of at least 9 months,
       C.R England agrees to pOudly provide you top-notch driving school
      .training, paid on-the-job training, and an Educational Assistance
       Program Which Will repay your Tuition Note IN FULL as soon as you
       have worked 9 - Montlis for C.R. England.

    • , You are ,expe,cted to meet,Your obligation to work for C.R England
        for at least 9 months. '

    • Other carriers, in an attempt to hire you, will tell you many untrue
      things to make the grasslook greener.

    • They will tell you that they will pay for your school and that the
      contract is taken care of if,they do. THAT IS NOT TRUE!

    • They will tell you that the:•contract does not matter or that C.R.
      England cannot enforce it THAI IS NOT TRUE!

    • If you leave before meeting your employment obligation, it is a
      BREACH:OF CONTRACT nless you first pay IN FULL your Tuition
      Note and the Buyout Cbs:under the contract These must be paid IN
      FULL before You leave. C.R England will not accept installment
      payments.

•   • Due to our significant investment in your training, C.R. England
       takes anY contract breacliery seriously. We have been forced to
       take legal action against several drivers in FEDERAL COURT because
       they have breached their Contract

      Be sure to keep your word!. C.R. England will absolutely keep its
      word and provide you fantastic training and great driving jobs.

    • • Be sure to read the agreement closely so you understand its terms.
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                     EXF IBIT "B"
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                                          PROMISSORY NOTE AND DISCLOSURE STATEMENT
                                                                    -

         CREDITOR: CR EncrIand dba Premier Truck          DIN1118$01001

        * DEBTOR: William                        din                                   6200 CIarkA          MEgg Lakewood                      CA 90714
                                                   NAME                                                   ADDRESS
         DEBTOR:
                                                   NAME '                                                 ADDRESS

    . In this Promissory Note and Disclosure Statement (also called Note) the words I, me, my, mine and us mean each and all of those
    ._ signing the Note. The words you, your, and yours mean the Creditocidentified above. in return for a loan that.I have received from
        you, I promise to pay to your Order at the office In the above city the amount of: U.S. $ 5.115,04 (the Inincipar), according to the
        Contract terms as set forth below In the Special Regulation Z Disclosures (to the extent applicable) and according to other Note
        terms as provided below.

         Interest: No interest will be charged on his Note unless and until I default After default, interest will be charged at the rate of 18%
         per annum on that pert of the principal which has nor.heen paid and will be charged beginning on the date of default and continuing
         until the full amount has been paid:

                                                      SPECIAL•REGULAT1ON Z DISCLOSURES


                 ANNUAL •                     FINANCE CHARGE                    Amount Financed                      Total of paymonts
                 PERCENTAGE RATE                         . .
                                                                                The amount of credit                 The amount I will have paid
                 The cost of my credit as     The dollar amount the             provided to me or on my              after I have made all payments
                 8 yearly rate                credit will cost Me' '            behalf                               as scheduled

                 1:0                    %                               •       $5175                                $5175
                                                                                                                                -


                 MY PAYMENT SCHEDULE WILL 8E:
                 Number of Piryments         Amount of Payrneets                When Payments Are Due
                 1                           $5175                              Upon Termination of Employment with C.R. England, Inc.
                 PREPAYMENT: If I pay o I early, twill not haVelo pay a penally.

                Information about nonpayment default, any: required repayment in full before the scheduled date, and prepayment
              • refunds and penalties appears nI my contract document.




                                                        ITEMIZATION OF AMOUNT FINANCED
                               The Amount Financed of $5175,Is distributed as follows:

                               Amount paid on my behalf to Premier Truck
                               Driving School for hetIon and foes: $EM


    •• .NOTICE. ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS
    •.90:1 DEFENSES WHICH THE' DEBTOR 'COULD'ASSERT. AGAINST THE SELLER OF GOODS OR
    • 'SERVICES OBTAINED WITH 'THE: PROCEEDS HEREOF.' RECOVERY HEREUNDER BY THE
       DEBTOR SHALE! NOT EXCEED AMOUNTS PAID BY THE DEBTOR HEREUNDER.
                                       . •
         The contract terms on the reverse side of this Note are part of and Incorporated Into this Note.

4
    "    EXECUTION/ACKNOWLEDGEMENT OF RECEIPT oF.DISCLOSURES

         THE UNDERSIGNED ACKNOWLEDGE(S) RECEIPT OF A COMPLETED COPY OF THIS NOTE AND DISCLOSURE
         CONTAINER HEREIN WHICHVISCLOSURES WERE:MADE PRIOR TO SIGNING.
                                                               `V S '0 3 'AO/5-
                       tt,24LL
    , Debtor                                                     Date:        Debtor                                                            Dale:
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                                                                          '1flffhIi MEINIEME IIlIllllill

              • Payments. I have promised to repay this Note as set forth above In the Special Regulation Z Disclosure box. I may repay this Note
                at anytime without penalty.

                    .Employee Educational Assistance Program. I understand that If I complete the term of my Employment Agreement with C.R.
                     England, C.R. England will satisfy this note In its entifety on my behalf.

                    Estimated Credit Terms. I understand that the Interest accrues on the outstanding principal balance on a daily basis.
                   'Consequently, the amount you have disclosed fori(ho Finance Charge and the Total of Payments are estimates and the actual
                    amounts paid may increase or decrease based upon My payment habits.

                    AssIgnment. I understand that you may sell or assign your Interests under Iles Note, without my consent.

                   - Credlt Reporting. I understand that you may report information about this Note, Including payment history, late payments and/or
                   • defaults, to credit bureaus, end such information may be reflected on credit reports respecting my credit history.
                      .      .
                   • Enrollment Agreement. I am entering Into.tNs Note to pay amounts owed to Premier Truck Driving School under a separate
                   : Enrollment Agreement for truck driver tntining-CEirollment Agreement'). If, under the terms of that Enrollment Agreement, I am
                     entitled to a-refund of any amounts paid, any such refund Is assigned to you, and shall be applied to the last payments owed by ma
                     Under this Note.

                   • Events of Default. I All be In default under this Note If I fall either to make a payment on time, or to perform all of my obligations
                     under this Note.

                    Remedies. Upon the occurrence-of any event of default as described above, and at anytime thereafter, you may declare the entire
                    balance due and payable at once, without notice or demand:

                   , Right of Offset. if Lam In default, I authorize you to exercise Immediately your common law right of offset against any monies or
                   ' credits I might have with you.

                    No Waiver of Rights. You may accept late or partial payments °smell as delay enforcing any of your rights on any occasion,
                    without losing yotir rights under this Note.

                   .Collection Fees. If I default under this Note, I agree to pay all your collection and legal expenses, including your reasonable
                    attorneys fees.

                    Responsibility of Persons Under This Note. If more than one person signs this Note, each of us is fully and personally obligated
                    to pay the full amount owed and to keep all of the proffilses made in the Note. Any guarantor, surety, or endorser of this Note Is
                    also obligated to do these things. You may enforce-your rights under this Note against each of us individually or against all of us
                    together, and all of us severally waive presentment for payment, protest, demand, notice of protest, and notice of dishonor.

                    Governing Law. This Note shall be governed by the taw of the State of Utah. This Is the entire agreement between you end me.
                    No other agreements or understandings exist outside of this document.




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                     EXHIBIT "C"
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                                               December 7, 2015



                                               William H. Gradie
                                              5200 Clark Ave., #65
                                              Lakewood, CA 90714


       VIA CERTIFIED MAIL
       Attn. PAGA Administrator
       455 Golden Gate Avenue, 9 1h Floor
       San Francisco, CA 94102

       VIA CERTIFIED MAIL
       C.R. England, Inc.
       c/o CT Corporation System
       818 West Seventh St.
       Ste. 930
       Los Angeles CA 90017


       Re: Notice of Labor Code Violations by C.R. England


       Dear Sirs:

             This letter constitutes notice of Labor Code violations pursuant to the Private Attorneys
       General Act of 2004, codified in the Labor Code section 2698 et seq. on behalf of aggrieved
       employee Williarn E. Gradie, and those similarly situated who have worked for C.R. England
       ("CRE") in California over the last four years as truck drivers.

                During this time period, CRE engaged in a series of consistent practices throughout the
       state of California which were illegal and unfair in violation of numerous Labor Code provisions.
       CRE's conduct, as described in greater specificity below, violates, inter alia, Labor Code sections
       201-203, 204, 206, 206.5, 208, 210, 212, 218.6, 221, 223, 225.5, 229, 256, 432.5, 450, 510, 512,
       558,970-972, 1171.1, 1174.5, 1182.11, 1182.12, 1194, 1194.2, 1197, 1197.1, 1198, 1198.5, 1199,
       2802-2804, and Wage Order 9-2001, Sections 3-4, 7, 8, 9, and 11-12. The conduct alleged also
       violates Business and Professions Code sections 16600 and 17200 et seq. and California Const.
       Art. I, Section 15.”



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           I. CRE's Unlawful Employment Practices.

                    A. Misrepresentations Regarding the Nature of the Work and Illegal Contract

                        Terms.
                 CRE advertised throughout California and the nation in order to induce applicants to
         relocate to Fontana, California (and other locations) in order to enroll in its for-profit, in-house
         "premier truck driving school" (the "CRE Training Program"). CRE induced applicants by
         representing that if they would travel to Fontana CA and enroll in the Training Program they
         would be provided with a "guaranteed job" as a well-paid, full-time truck driver.

                 The true facts regarding the nature of the work, which CRE concealed and failed to
         disclose, included the facts that:

                        o The approximately $5,000 which CRE charged for its relatively perfunctory 17-
                          day Training Program was far above its actual cost for the program.

                        o The Training Program was never intended to prepare drivers for long term
                          employment with CRE. Instead, the Training Program was designed and run as
                          an independent profit-making enterprise. CRE's profit in the transaction was
                          generated not by its continued employment of its own trainees, but rather by the
                          volume of aspiring drivers which it could charge for its Training Program.

                        o Contrary to its representations, CRE did not intend to treat the applicant's job as
                          "guaranteed" or even terminable only for good cause. In fact, notwithstanding
                          the drivers' substantial financial investment in their employment, CRE always
                          intended to, and did, treat the drivers' employment as terminable at-will.

                        o In fact, CRE's for-profit Training Program churned out far more student drivers
                          than CRE could ever actually employ. As a result, CRE had to actively cull the
                          number of drivers who were actively employed with terminations and coerced
                          resignations.

                        o Far from having a "guaranteed job," virtually every driver who is induced to
                          pay for the Training Program is terminated within less than a year.

                        o In anticipation of this treatment, upon arriving at Fontana, applicants are
                          required, as a condition of employment, to execute a series of illegal and
                          unconscionable contract provisions which they were given little or no time to
                          read or comprehend. These included
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                                •    A illegal waiver of the driver's right to enforce the provisions of
                                     California law against CRE;

                                •    An illegal agreement to work as an indentured servant who was required
                                     to pay CRE a penalty or "liquidated damages" of approximately $2,500
                                     in order to leave CRE's employment.

                                •    An illegal agreement to refrain from working for any competitor of CRE
                                     for a period of at least nine months.

                                •    An illegal agreement to penalize the driver in the event of termination of
                                     his employment by accelerating the payment of principal owed for the
                                     Training Program and assessing illegal penalties and usurious interest on
                                     the unpaid balance.

                        o CRE further failed to disclose that drivers would be expected to work without
                           legally required off-duty meal breaks and paid rest . breaks.

                        o CRE further failed to disclose that drivers would be required to work numerous
                            hours without any compensation or for compensation below the applicable
                            minimum wage rate.

                This conduct violates, inter alia, Labor Code sections 970-972; as well as sections 206,
         206.5, 210, 432, 432.5, 221, 223, 225.5, 1171.1 1174.5, 1182.11, 1182.12, 1194, 1194.2, 1197,
         1197.1, 1198, 1198.5, 1199, and Wage Order 9-2001, Sections 3-4, 7, 8, 9, 11-12. The conduct
         alleged also violates Business and Professions Code sections 16600 and 17200 et seq., and
         California Constitution Art. 15, Section 1.

                    B. Failure to Provide Off-Duty Meal and Rest Breaks
                 Federal Department of Transportation regulations limit the number of consecutive hours of
         service a driver may work. In order to ensure that its drivers will travel the maximum number of
         cargo-miles during this window, CRE discourages and prohibits drivers from taking off-duty meal
         or rest breaks required by California law. Such breaks are also prohibited as a consequence of
         CRE's policies requiring drivers to be constantly on-duty and responsible for their truck and its
         load.

               To the extent drivers are ever able to take a compliant 10-min rest break notwithstanding
         CRE's he is not separately compensated for this rest time. CRE also fails to keep any record of
         when meal periods begin and end.
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                As a result of its federally-mandated tracking of the drivers' activity and time spent on-duty
         CRE is fully aware that its drivers do not meal and rest breaks required by law. Despite this
         knowledge, CRE also willfully fails to pay the premium wages required by these statutes in lieu of
         compliant meal and rest breaks. This conduct violates, inter alio, California Labor Code Sections
         226.7, 512, 558, 1198, and Wage Order 9-2001, Sections 7, 11-12.




           A.       Unlawful Charges and Deductions From Wages; Untimely Payment of Wages
                 CRE also regularly required drivers to make payments out of their own pockets for items
         that are a regular part of its own business operating expenses for which it is legally responsible.
         CRE also improperly deducted sums from wages and withheld earned wages from drivers. Such
         improper deductions and withholdings included: Deductions to pay for CRE's internal costs for job
         training; penalties; or "liquidated damages" assessed by CRE; late fees; costs of CDL testing and
         physical examination.

                Based on the number of hours worked, these deductions and withholdings caused drivers'
         actual wages to fall below the applicable minimum wage and stated contract rate for numerous
         time periods.

                Moreover, this withholding and deduction of wages (as well as the failure to pay earned
         minimum wage, wages for all hours worked, and premium wages for meal and rest breaks), also
         prevented drivers from receiving all earned wages due at the time of the termination of their
         employment. In addition, even as to those wages which CRE concededly owed to drivers, it
         followed a consis - ent pattern and practice of refusing to pay such earned wages at the location of
         employment immediately upon termination or voluntary resignation with 72 hours' notice (or
         within 72 hours of resignation if less than 72 hours' notice is provided by the driver).

                This conduct violates, inter alia, California Labor Code Sections Labor Code sections 201-
         203, 204, 206, 206.5, 208, 210, 212, 218.6, 221, 223, 225.5, 256, 432.5, 450, 510, 512, 558, 970-
         972, 1171.1, 1174.5, 1182.11, 1182.12, 1194, 1194.2, 1197, 1197.1, 1198, 1198.5, 1199, 2802-
         2804, and Wage Order 9-2001, Sections 3-4, 7, 8, 9, and 11-12.



                     B. Failure to Pay Applicable Minimum Wages For all Hours Worked
                CRE routinely paid less than applicable minimum wage for all hours worked (currently
         $9.00 per hour for each hour worked) by, inter alia, refusing to pay compensation for numerous
         categories of work that CRE deemed to bc "non-productive." These include:
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                    a. Tithe spent completing CRE's in-house driver training program;
                    b. Time spent completing CRE's orientation and new-hire paperwork;
                    c. Time spent completing CRE's road driving evaluation;
                    d. Time spent completing the mandatory DOT physical examination, drug test, and
                       other requirements for beginning employment with CRE in compliance with the
                       CRE's Employment Contract;
                    e. Time spent waiting for an assignment following receipt of a CDL;
                    f. Time spent when the driver was under the control of CRE but not "on-duty" for
                       purposes of federal DOT safety logs, such as time spent in a sleeper berth during
                       teath driving assignments.

                 CRE also ioaid less than minimum wage by failing to fully account for, and record, all
         hours worked and to accurately report that number of hours on the drivers' pay statements. A
         correct tally of hours worked would establish that the amounts actually paid to drivers were
         frequently below the applicable minimum wage. This conduct violates, inter alia, California
         Labor Code Sections Labor Code sections 201-203, 204, 206, 206.5, 208, 210, 212, 218.6, 221,
         223, 225.5, 256, 432.5, 450, 510, 512, 558, 970-972, 1171.1, 1174.5, 1182.11, 1182.12, 1194,
         1194.2, 1197, 1197.1, 1198, 1198.5, 1199, 2802-2804, and Wage Order 9-2001, Sections 4, 7, 8,
         and 9.

                    C. Failure to Provide Accurate, Itemized Pay Statements
                CRE failed to provide wage statements that contain all items required by LC 226(a).
         Omitted items included the correct number of hours worked, the applicable hourly rate for all
         hours worked, the correct amount of wages earned, and a correct itemization of the deductions
         withheld from wages.

               This conduct violates, inter alia, California Labor Code Sections Labor Code sections 204,
        206, 206.5, 210, 212, 218.6, 221, 223, 225.5, 226(a), 226(e), 256, 432.5, 450, 510, 512, 558, 970-
        972, 1171.1, 1174.5, 1182.11, 1182.12, 1194, 1194.2, 1197, 1197.1, 1198, 1198.5, 1199, 2802-
        2804, and Wage Order 9-2001, Sections 4, 7, 8, and 9.



                Please let me know if you have any questions and whether you intend to proceed with any
        investigation of these allegations.
                                     •
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                                          Very truly yours,




                                          WILLIAM I-I. GRADIE
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                                                                                Hnn al an
                                                   C.12. ENGLAND, INC.
                                                     '
                                       DRIVER EDUCATION AND EMPLOYMENT CONTRACT

                                                                      (California)

                             This Driiier Education and ErnilOinent Contract ("Contract') is entered into this 0 3 day
                     0f/41.16dST , 20j 5. (the "Effective Date") in the State of California by and between C.R.
                                           ,



                     England, Inc. ("England"), a Utah corpOiiition located at 4701 West 2100 South, Salt Lake City,
                     Utah 84120 and Milan)         Wadi() • '("you" Or "Driver"). In consideration of the parties'
                     respective promises in this Contract and `other good and valuable consideration, you and England
                     agree as follows:                         ••

                             1.     EDUCATION AND EMPLOYMENT. In exchange for your promise to work as a
                     truck driver exclusively forIngland foil :nine months as provided in this Contract and your
                     execution of a ptomissOry note.for the taiSubsidized cost of tuition ("Tuition Note"), England will
                    •Provide its Premier Truck Driving SchoOpriver Education Program to you on the terms described
                     in the Enrollment Agreement. England'alto agrees to employ you subject to the terms and
                     cOnditions stated below.

                     You will not be employed by England during your Driver Education Program and thus will
                     recei v e no pay dtuirigthls Period. You will not become an employee of England, and will not
                     receive any pay; until-you meet all_ thee ol riditioris listed below.

                  • England agrees to. empl oy you and you agree lobe employed by England as a truck driver when you
                  • Meet all'of the f0119wing conditions:


                                    (a)     You successfidlycomplete all requirements of England's Premier Truck
                                           Driving School Driver Education program;
                                    (b)    You submit a written application to England, in form provided by England,
                                           and satisfy Englaiids standard criteria regarding work history, motor vehicle
                                           record and erimiial 'background check;
                                    (c)     You pass a Departirient of Transportation drug test and hair follicle test
                                    (d)     You submit to, and Pass, a medical examination in -accordance with
                                           regulations issued't.)y the Department of Transportation;
                                    (e) , You successfully,c4nplete road and range driving evaluation administered by
                                           England;
                                    (1)    You obtain a valid CDL.

                     You agree to use your best efforts and to work diligently to meet all of these conditions.

                               2.       DUTIES•OFDRIVER. yOu agree that at all times during the term of your
                      employment as definedin paragraph 3 below, you shall devote all of your working time to the
                      perforniiance of yOurduties to England under this Contract. Your duties are to act as a commercial
                      thick driver for England and fulfill all related-duties, including all of the reqUirements and
                   . 'conditions set forth in the England Driver Employee Policy Manual (the "Manual") as amended
                      from time to time. You agree that you will not directly or indirectly, engage or participate in any
                      activities . atany time during the term of this Contract in conflict with your duties under this
                      Ccintract.
      12-.0                 3.      TERM OF EMPLOYMENT. You agree that, after the conditions stated in
 •            •
                    :paragraph I are met,. you Will work as a truck driver for England for a period of nine months tiller
     • •,-           the date you are first dispatched by Eng,larid, subject to termination by England prior to the end of
      1.:Z:

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                                      iniciAmommim 1111momunnomll
 the term pursuant to paragraph 4, belolit..-:After the nine (9) month term, you or England may
 terminate your employment at any time • rtnd for any reason. You acknowledge that, at great cost,
 England has provided, or will provide, YOur driver education, and that England would bedamaged
 by your failure to eomPlete the nine mniith term of this Contract.

          4.      TERMINATION OF EMPLOYMENT. During the nine (9) month term, your
 employment may only be terminated fo lr'.:iltie following reasons: (a) by England for Due Cause,
 effective immediately; (b) by mutual agreement between you and England; (c) upon your death or
                          • .
                                         * you
 upon yciiir developing a disability such -           are no longer able to legally drive; or (d) by
 England 'without Due Cause. For the piiiiioses of this Contract, "Due Cause" means (i) your breach
 of this Contract, (ii) your violation of anY;of the requirements or conditions set forth in the Manual;
 or..(iii)"your violation of or failure to remain in compliance with any federal or state regulations
 applicable to your position as a driver of Commercial motor vehicles in interstate commerce. If you
 are terminated by Engi and without Due Cause, England shall cancel the Tuition Note and, in
 addition, paragraphs 5 Shall not apply.       '

           5.       LIQUIDATED DAMAGES FOR BREACH OF YOUR PROMISE TO WORK FOR
. ENGLAND. You :agree Iltatif You fail ;ti*omplete the full nine (9) month term of your
  employment with England because (a) ycit quit, Or (b) your employment is terminated for Due
'•Cause, then England will suffer damages:because of its inability to realize the full benefit of its
  financial investnientikyout recruitment,fiaining and employment. You and England agree that it
  will be difficult to detemiine the precise amount of the financial harm to England in the event either
  of these things happens and that the liqUid'fited .damages amount provided for in this Contract
  represent a fair, reasonable and appropriate estimate of this harm. Accordingly, you agree that if
  You - quit or are terminated for Due Cause.li ■ efore you have completed your 9-month commitment,
  you will be immed i ately liable to pay to:England liquidated damages in the amount of $2500.00.

         6.       EARLY BUYOUT. At any time prior to your completion of the full nine (9) month
'term, of your employment with England, Y'ou may terminate your employment obligation by 1)
•paying in full the balance of your Tuition' Note, and 2) paying to England $2500 (the "Buyout
 Cost"). Your obligations under this Agreement will continue until both the Tuition Note and the
 Buyout Cost are paid in full. England.willi not accept installment payments on either the Tuition
 Note or the BuyOut Cost. The Buyout Celt is to compensate England for its substantial investment
  in your recruiting and training and the retyrn on that investment it would have received if you had
 completed the entire term of this Agreeriient.

        7.      DRIVER COMPENSATION. As compensation for the driving services to be
rendered by you uriderthiS Contract, and a:s consideration for your promises and covenants herein,
England will pay.y6u the wages; benefit's and other compensation set forth in the Manual and as
stated by England from'tiine to time, and Wiltalso provide the Educational Assistance Program
described below. Upon the termination ofemployment, as defined in paragraph 4 of this Contract,
you authorize England to deduct and recoup any amount remaining due and owing to England
pursuant to"paragraph 5 of this Contract fi'Om any compensation due and owing to you from
England. England may unilaterally change at any time, by written amendment, the terms and
conditions of the compensation set forthrin!the Manual so long as your overall compensation is not
inaterially reduced, .andyoti-liereby content
                                          . to . all such amendments and agrees that such
amendments shall be binding upon you. ."

      8.      EDUCATIONAL ASSISTANCE PROGRAM. When you have completed the nine
month term of this Contract, you will autornatically become eligible for England's Educational
                                                    2
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                                            •
 Assistance Program, whielt•is described in lite summary plan description that you may obtain from
 theEngland.Departinent Of Huinan Resources. The Educational Assistance Prograth will pay, on
 your behalf, any amounts owing on the Tiliition Note, up to $5,200 per calendar year.
          9.      ENTIRE
                     .     AGREEMENT.
                               ..            . IThis Contract, together with the Enrollment Agreement
 and
 .    the
        .  TuitioriNote;.Contains the entire   agreement and understanding by       between England and
•you with respect to the subject matter contained herein and no representations, promises,
 agreements or understandings, written oa1, concerning this subject matter, shall be.of any force
  or effect. This Contract may. not be modified except by a writing signed by both you and England.
 This Contract shall:be binding upon and inbre to the benefit of England and you, England's legal •
 representatives, and England's successors and assigns. However, you may not assign your duties
 'under this dOntract.
        10. SEVE'RABILITY: If one or 'more of the provisionicontained in this Contract is
 deemed invalid, illegal or unenforceable in'any respect,' such invalidity, illegality or
 unenforeeability shall not affect the validitY and enforceability Of the other provisions.
         11. GOVERNING LAW AND WIVE. You and England agree that this Contract and
its construction and interpretatiOnshall be gbvemed by the laws of the State of Utah, and any claim,
litigation•or dispute ariSing from or relatedfo this Contract shall be litigated in the appropriate
federal Or state court located in Salt Lakepty, Utah. You hereby consent to personal jurisdiction
end venue in such court.' Notwithstanding any other provision of this . Connact, if you have
ciecuted an arbitration agreement withElig,lancl, the terms of the arbitration agreement shall govern
any claims or disputes between you and England arising from or related to this Agreement.
 . . YOU
      • ACKNOWLEDGE THAT YOU HAVE READ THE TERMS OF THIS CONTRACT
 AND HAVE HAD THEOPPORTUNITt•P YOU DESIRED, TO CONSULT WITH AN
 ATTORNEY.OF YOUR:CHOICE PRIO.RTO SIGNING BELOW.
        IN WITNESS WHEREOF, C.R. England, Inc. and Driver have duly executed this Contract
as of the date, yea i- and place first above written.


C.R. ENGLAND, INC.                                DRIVER

By:                                               By:                    4f44
                                                  Name: William              Gradle

Title:                                            Address: 5200 Clark Ave 65

                                                             Lakewood          CA          90714

                                                  Phone: 5(.2 "'acss
                                                  Social Security Number:    318646498

                                                  Driver TIN: U 5°3 ° 1 41



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                                 •1111111CROMIMIEBIEMNIBMINIM
                                                                •
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                                                                    •   .




        Facts about yourtontract
                               ;           with C.R•England
•
                                 •
        The contract is an employment agreement, where you agree to work
        for C.R England for at lest 9 months.

• In exchange for your employment commitment of at least 9 months,
   C.R England agrees to prOudly provide you top-notch driving school
  .training, paid onzthe-lob.:training, and an Educational Assistance
   Program Which Will repay your Tuition Note IN FULL as soon as you
   have worked 9 -Months fdF C.R. England.

• , You are ,expected to meet your obligation to work for C.R. England
    for at least 9 months. '

• Other carriers, in an attempt to hire you, will tell you many untrue
  things to:make the 'grass-look greener.

• They will tellyou that they will pay for your school and that the
  contract is taken care of if theydo. THAT IS NOT TRUE!

• They will tell you that thecontract does not matter or that C.R
  England cannot enforce it THAT IS NOT TRUE!

• If you leave before meeting your employment obligation, it is a
• BREACH.OF CONTRACT iniless you first pay IN FULL your Tuition
  Note and the .Buyout 64:under the contract These must be paid IN
  FULL before You leave. C,11. England will not accept installment
  payments.

• Due to our significant inv,estment in your training, C.R. England
  takes any contract breach Very seriously. We have been forced to
  take legal action against everal drivers in FEDERAL COURT because
  they have breached their Contract

        Be sure tb keep your word!. C.R England will absolutely keep its
    -   word and provide you fantastic training and great driving jobs.

• Be sure to read the agreement closely so you understand its terms.
